




NO. 07-07-0044-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



JUNE 5, 2007

______________________________



ADRIAN TENORIO, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE 140
TH
 DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2006-413201; HONORABLE JIM BOB DARNELL, JUDGE

_______________________________





Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

ORDER ON ABATEMENT AND REMAND

Appellant Adrian Tenorio has given notice of appeal from a conviction and sentence for aggravated robbery. &nbsp;The appellate court clerk received and filed the trial court clerk’s record on March 6, 2007, and received and filed the trial court reporter’s record on April 10, 2007. 

Appellant’s brief was originally due on May 10, 2007. &nbsp;The Court, on May 18, 2007, notified counsel for appellant that the brief was due and gave a May 29, 2007 deadline for the brief to be filed or the appeal would be abated and remanded to the trial court. &nbsp;Neither the brief nor a motion for extension of time has been received. 

Accordingly, this appeal is abated and the cause is remanded to the trial court. &nbsp;
Tex. R. App. P. 
38.8(b)(2). &nbsp;Upon remand, the judge of the trial court is directed to immediately cause notice to be given of and to conduct a hearing to determine: 

(1) 	whether appellant desires to prosecute this appeal; 


if appellant desires to prosecute this appeal, whether appellant’s present counsel should be replaced; and

what orders, if any, should be entered to assure the filing of appropriate notices and documentation to dismiss appellant’s appeal if appellant does not desire to prosecute this appeal, or, if appellant desires to prosecute this appeal, to assure that the appeal will be diligently pursued.




If the trial court determines that the present attorney for appellant should be replaced, the court shall cause the clerk of this court to be furnished the name, address, and State Bar of Texas identification number of the newly-appointed attorney. &nbsp;

In support of its determination, the trial court shall prepare and file written findings of fact and conclusions of law and cause them to be included in a supplemental clerk’s record. &nbsp;The hearing proceedings shall be transcribed and included in a supplemental reporter’s record. &nbsp;Those supplemental records shall be submitted to the clerk of this court no later than July 9, 2007.

Per Curiam

Do not publish. &nbsp;


